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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                      )
 AVERAGE WHOLESALE PRICE                             )   MDL No. 1456
 LITIGATION                                          )
                                                     )   Master Case No. 01-12257-PBS
                                                     )   Subcategory No. 06-11337-PBS
 THIS DOCUMENT RELATES TO:                           )
                                                     )   Judge Patti B. Saris
 United States of America ex rel. Ven-a-             )
 Care of the Florida Keys, Inc., et al. v.           )
 Boehringer Ingelheim Corporation, et al.,           )
 Civil Action No. 07-10248-PBS                       )

       UNITED STATES’ OPPOSITION TO BIC AND BIPI’S MOTION TO
     BIFURCATE THE CORPORATE VEIL-PIERCING ISSUES FOR TRIAL

       Defendants’ motion to “bifurcate” the “corporate veil-piercing issues” for trial should be

denied. The evidence that BIC and BIPI participated in setting inflated AWPs for the drugs at

issue is part and parcel of the evidence that Roxane’s corporate veil should be pierced.

BIPI and Roxane were operated as part of a single business unit, with overlapping employees

and shared management. Proof that Roxane employees reported to their BIPI counterparts and

that National Account Managers promoted both companies’ products is equally relevant to the

direct liability and veil-piercing issues. It would waste time and judicial resources to hear this

evidence twice.

       Defendants’ other stated reason for bifurcation – that evidence of the falsity of Roxane’s

prices and the amount of damages defendants caused would prejudice the jury’s consideration of

the veil-piercing issues – is also ill-founded. In the First Circuit, the standard for when to pierce

the corporate veil includes consideration of such equitable interests as the public convenience,

fairness and equity, as well as the degree of injustice to be visited on litigants if the corporate
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form were recognized. Evaluation of these considerations cannot be made in a vacuum, and the

United States therefore is entitled to have the jury consider whether to pierce Roxane’s corporate

veil in the context of evidence of defendants’ fraudulent conduct and the scale of damages

defendants caused.

                                           BACKGROUND

        BIC is a holding company and the sole shareholder of Roxane, BIPI, and several other

affiliated Boehringer Ingelheim entities in the United States. Boehringer Ingelheim documents

describe BIC as having “limited corporate functions,” and identify BIPI as the “primary

operating company” for Boehringer Ingelheim’s United States operations.1

        Beginning in at least 1994, Boehringer Ingelheim managed the Roxane and BIPI business

as part of a common “Business Unit.” In order to create a unified management for the Business

Unit, several Roxane employees including Ed Tupa (Vice President, Sales and Marketing) and

Fred Duy (Vice President, Business Planning and Development) reported “functionally” to

Sheldon Berkle, who was employed by BIPI and head of the Business Unit. Roxane and BIPI

shared many core business functions, including a common contracts department, a common

“Trade Relations” department responsible for calling on wholesalers and other important

customers, and a unified pricing process for BIPI and certain Roxane products.

        Several Roxane employees in sales and marketing reported to their BIPI counterparts.

For example, Gregg Ciarelli was employed by BIPI but served as “Marketing Controller” for the


        1
          The United States refers to its summary judgment papers for a more complete description of the
relationships among BIC, BIPI and Roxane. See Master Dkt. Nos. 6410, 6411 and 6575. In addition,
defendants’ motion makes various functional and legal misstatements (such as the claim that the United
States’ direct liability claims are newly minted). These misstatements are addressed in the United States’
summary judgment papers.

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entire Business Unit and oversaw various Roxane employees. Likewise, Jim King, Mike

Leonetti, and James Rowenhorst were BIPI employees, but supervised Roxane’s branded generic

sales force and the Business Unit’s Trade Relations Department. Such employees occupied

important positions in Roxane’s management structure, and directly approved or endorsed

Roxane’s pricing and marketing strategies.

       During the course of this investigation, Roxane’s value as a company has been

dramatically diminished. In each year from 1996 through 2001, Roxane’s retained earnings

significantly exceeded its total liabilities and, at year-end 2001, Roxane enjoyed retained

earnings of over $350 million (compared to total liabilities of $203 million). Following payment

of an “unbudgeted” $320 million dividend to BIC in November 2002, Roxane’s retained

earnings fell to just $46 million dollars, and its total liabilities swelled to over $300 million

dollars. Roxane’s value as a company has never recovered and, in 2007 (the last year for which

the United States has full financial records), Roxane’s retained earnings were approximately $33

million.2

                                           ARGUMENT

       Bifurcation of claims is the exception, not the rule. General Elec. Credit Union v.

National Fire Ins. of Harford, 2009 WL 3210348, *2 (S.D. Ohio. 2009); see also Boutilier v.

John Alden Life Ins. Co., 2000 WL 1752623, *4 (D. Mass. 2000) (noting that bifurcation is

“certainly not encouraged”). The party moving for bifurcation bears the burden of

demonstrating that considerations of judicial economy and possible prejudice weigh in favor of


       2
        Compounding matters, Roxane Laboratories was split into two companies in 2005; a “new”
Roxane Laboratories, responsible for sales and marketing, and Boehringer Ingelheim Roxane, a separate
company responsible for manufacturing.

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bifurcation. Chapman ex rel Estate of Chapman v. Bernard’s Inc., 167 F. Supp. 2d 406, 417 (D.

Mass. 2001). Here, defendants cannot meet that burden.

1.       Bifurcation of the veil-piercing claims will not promote judicial economy

         Under the federal common law, there is no precise litmus test for determining when the

corporate form should be ignored. On the contrary, “the rule in federal cases is founded only on

the broad principle that a corporate entity may be disregarded in the interests of public

convenience, fairness and equity.” Brotherhood of Locomotive Eng’rs v. Springfield Terminal

Ry Co., 210 F.3d 18, 25 (1st Cir. 2000) (internal citation and quotation omitted). Relevant

factors include, among others, extensive control by shareholders, intermingling of business

activities or management, and failure to observe corporate formalities and separateness. See,

e.g., In re Acushnet River & New Bedford Harbor Proceedings, 675 F. Supp. 22, 33 (D. Mass.

1987).

         The evidence in this case establishes that numerous BIC and BIPI employees participated

in Roxane’s sales and marketing efforts, including the promotion of Roxane’s products to its

most important customers and decisions to set inflated AWPs for the Subject Drugs. Such

evidence is relevant both to proving BIC and BIPI’s liability under the False Claims Act and to

proving that Roxane’s corporate veil should be pierced. As noted, proof of extensive control by

shareholders and a failure to observe “corporate separateness” are important factors in the veil-

piercing analysis. A jury will have to consider the extent and nature of BIC and BIPI’s

involvement in Roxane’s sales and marketing efforts in deciding whether to disregard Roxane’s

corporate form. This evidence implicates dozens of likely trial exhibits and the testimony of

almost every defendant-employee the United States expects to call.


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        Bifurcation of the veil-piercing claims thus will require presentation of extensive

evidence twice: first in the direct liability case and again in a proceeding to determine the

corporate veil question. In such a circumstance, judicial economy counsels strongly against

bifurcation. See International Bhd. of Elec. Workers v. American Laundry Mach., 2010 WL

200396, * 3 (S.D. Ohio 2010) (denying motion to bifurcate veil-piercing claims because “many

of the same witnesses and pieces of evidence would need to be presented if the claims were

bifurcated”); Uniloc USA, Inc. v. Microsoft Corp., 632 F. Supp. 2d. 147, 152-53 (D. RI 2009).

2.      Consolidation of the veil-piercing claims will not prejudice defendants

        Defendants also claim that bifurcation is necessary to prevent prejudice. In particular,

defendants claim that evidence relating to the truth or falsity of the reported AWPs and the

amount of damages caused is “immaterial” to the veil-piercing question and that the jury’s

consideration of such evidence will prejudice defendants. This is not the case.

        Defendants’ argument misconstrues the standard for piercing the corporate veil under

federal law, which expressly incorporates equitable considerations such as “the degree of

injustice that would be visited on the litigants by recognizing the corporate form” as well as

considerations of public convenience, fairness, and equity. See Crane v. Green & Freedman

Baking Co., Inc., 134 F.3d 17, 23 (1st Cir. 1998); Brotherhood of Locomotive Eng’rs, 210 F.3d

at 25.3 To evaluate such considerations meaningfully, a jury must consider the corporate veil

question in the context of the charged conduct and the extent of the damage defendants caused.

Without such context, a jury cannot evaluate whether piercing the corporate form is fair or

        3
           Roxane’s proffered expert on “corporate governance” issues, Professor Jonathan Macey,
testified that interests such as the public convenience and welfare are relevant to determining whether to
pierce the corporate veil. See May 20, 2009 Deposition of Jonathan Macey, at 272:7-273:19, 274:12-
276:21, 279:6-280:11 (excerpts attached hereto as Exhibit A).

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equitable, let alone balance the “degree of injustice” caused by recognizing the corporate form.

       Moreover, some risk of prejudice is not by itself a reason to order bifurcation. Any

possible prejudice caused by the presentation of corporate veil evidence can be minimized

through cautionary jury instructions. See, e.g., Uniloc USA, 632 F. Supp. 2d. at 152-53 (denying

motion for bifurcation, noting that “the risk of distraction or prejudice to [defendant] from

presentation of profit and other financial evidence can be minimized by instructions to the jury

that damages must be considered apart from liability”).

                                      CONCLUSION

       For the foregoing reasons, defendants’ motion to bifurcate the “veil piercing issue”

should be denied.




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DATED this 5th day of March, 2010.     Respectfully submitted,

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                               CERTIFICATE OF SERVICE


        I hereby certify that I have this day caused an electronic copy of the above “UNITED
STATES’ OPPOSITION TO BIC AND BIPI”S MOTION TO BIFURCATE THE
CORPORATE VEIL-PIERCING ISSUES FOR TRIAL” to be served on all counsel of record
via electronic service pursuant to Paragraph 11 of Case Management Order No. 2 by sending a
copy to LexisNexis File & Serve for posting and notification to all parties.



                                            /s/ James J. Fauci
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